                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN
                             MILWAUKEE DIVISION


R. ALEXANDER ACOSTA,                      )
Secretary of the United States            )
Department of Labor,                      )
                                          )
            Plaintiff,                    )
                                          )              Civil Action No. 2:13-cv-1302-PP
      v.                                  )
                                          )
VERONICA MUELLER, et al.,                 )
                                          )
            Defendants.                   )
__________________________________________)

                     AGREED CONSENT DECREE AND ORDER

       Plaintiff R. Alexander Acosta, Secretary of the United States Department of Labor

(the “Secretary” or the “Department of Labor”), Defendants Veronica Mueller and Roger

Mueller (the “Muellers”) and the “Defendant Trusts”,1 Alpha Investment Consulting

Group, LLC (“Alpha”), Omni Resources, Inc. Employee Stock Ownership Plan and Trust

(the “Omni ESOP”),2 and Omni Resources, Inc. (“Omni”)3 (collectively, and with the

Secretary, the “Parties”), by and through their respective attorneys, have negotiated an


1
  The “Defendant Trusts” are the Carey V. Mueller (n/k/a Vollmers) 1996 Trust, the Roger
L. and Veronica S. Mueller 1996 Exemption Trust f/b/o Carey V. Mueller (n/k/a Vollmers),
the Craig M. Mueller 1996 Trust, the Roger L. and Veronica S. Mueller 1996 Exemption
Trust f/b/o Craig M. Mueller, the Christopher L. Mueller 1996 Trust, and the Roger L. and
Veronica S. Mueller 1996 Exemption Trust f/b/o Christopher L. Mueller.
2
 The Omni ESOP was named as a defendant herein, pursuant to Federal Rule of Civil
Procedure 19, solely to assure that complete relief can be granted.
3
 Omni voluntarily submits itself to the jurisdiction of this Court for the purpose of
agreeing and subjecting itself to the terms of this Agreed Consent Decree and Order. See
paragraphs II(E), III, IV, VI(G), VII and VIII below.




     Case 2:13-cv-01302-PP Filed 12/20/17 Page 1 of 51 Document 226-1
agreement to settle the matters in controversy in this civil action, and each consents to the

entry of this Agreed Consent Decree and Order by this Court as the sole and complete

memorialization of the terms of such agreement.

       A.      The Secretary filed this action pursuant to his authority under Title I of the

Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001, et seq.,

as amended.

       B.      The Parties agree to settle this dispute on the terms and conditions

hereinafter set forth and stipulate and agree to the entry of this Agreed Consent Decree and

Order as a full and complete resolution of all of the civil claims, causes of action, and

issues arising between them in this action without adjudication of any issue of fact or law

raised in the Secretary’s Complaint in this action.

       NOW THEREFORE, in consideration of the mutual covenants set forth in this

Agreed Consent Decree and Order and other valuable and sufficient consideration, the

Parties have agreed as herein stated. Accordingly, it is ORDERED, ADJUDGED AND

DECREED that:

                                    I.    JURISDICTION

       A.      This Court has jurisdiction over the Parties and subject matter of this action,

and is empowered to provide the relief herein.

       B.      Omni voluntarily submits itself to the jurisdiction of this Court for the

purpose of agreeing and subjecting itself to this Agreed Consent Decree and Order.

                              II.        MONETARY RELIEF

       A.      Defendants Roger Mueller, Veronica Mueller, and the Defendant Trusts,

jointly and severally, will (i) pay the Omni ESOP $1,520,681.82 (one million five hundred

twenty thousand and six hundred eighty-one dollars and eighty-two cents), (ii) reduce the


                                        2
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 2 of 51 Document 226-1
balance of both Omni’s obligation to repay Veronica Mueller and the Defendant Trusts and

the Omni ESOP obligation to repay Omni by the amount of $3,500,000 (three million five

hundred thousand dollars) and Omni’s loan in the same amount to the ESOP, and (iii) pay

an ERISA § 502(l) penalty in the amount of $479,318.18 (four hundred seventy-nine

thousand three hundred eighteen dollars and eighteen cents) to the Department of Labor.

As described in the following paragraphs, $1,500,000 (one million five hundred thousand

dollars) (“First Installment”) will be paid to the Omni ESOP within sixty days of entry of

this Agreed Consent Decree and Order. An additional $20,681.82 (twenty thousand six

hundred eighty-one dollars and eighty-two cents) (“Second Installment”) will be paid to the

Omni ESOP within two years of the entry of this Agreed Consent Order and Order. The

payment of an ERISA § 502(l) penalty of $479,318.18 (four hundred seventy-nine

thousand three hundred eighteen dollars and eighteen cents) will be made within the earlier

of five days after the payment of the Second Installment or two years after the entry of the

Agreed Consent Decree and Order. The Muellers’ and/or the Defendant Trusts’ settlement

payments are, in part, in consideration for the assignments from Omni and the Omni ESOP

described in paragraph VII below.

       B.      As noted above, within sixty (60) days of the Court’s entry of this Agreed

Consent Decree and Order, Defendants Roger Mueller, Veronica Mueller, and/or the

Defendant Trusts shall pay to the Omni ESOP the total sum of $1,500,000.00 (one million

five hundred thousand dollars). This payment shall not be offset in any manner by any

payments from Omni, the Omni ESOP, Alpha, or any other party.

       C.      Within two years of the Court’s entry of this Agreed Consent Order and

 Order, Defendants Veronica Mueller, Roger Mueller, and the Defendant Trusts shall pay

 the Omni ESOP the total sum of $20,681.82 (twenty thousand six hundred eighty-one


                                        3
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 3 of 51 Document 226-1
 dollars and eighty-two cents). This payment shall not be offset in any manner by any

 payments from Omni, the Omni ESOP, Alpha, or any other party.

       D.      Upon payment of the First Installment in paragraph II(B) above, full

compliance with the Loan Restructuring Provisions in paragraph III below, and payment of

the Second Installment pursuant to paragraphs II(C) and (E), the Department of Labor has

determined that Defendants Roger Mueller, Veronica Mueller, and the Defendant Trusts

shall be and hereby are assessed a total penalty under ERISA § 502(l), 29 U.S.C. § 1132(l),

of $829,166.67 (eight hundred twenty-nine thousand one hundred sixty-six dollars and

sixty-seven cents). The Department of Labor has agreed to compromise and reduce the

amount of the penalty to $479,318.18 (four hundred seventy-nine thousand three hundred

eighteen dollars and eighteen cents) (the “502(l) Penalty”). Therefore, the Secretary hereby

does and will accept, as full satisfaction of the assessed penalty, the amount of $479,318.18

(four hundred seventy-nine thousand three hundred eighteen dollars and eighteen cents) out

of the Second Installment. Defendants Roger Mueller, Veronica Mueller, and the

Defendant Trusts waive their rights to a separate notice of assessment of the penalty under

§ 502(1), 29 U.S.C. §1132(1), the service requirement of 29 C.F.R. § 2570.83, and their

rights to seek any further reductions of or relief from the 502(l) Penalty. Defendants

Roger Mueller, Veronica Mueller, and the Defendant Trusts shall pay the 502(l) Penalty to

the United States Department of Labor within the earlier of five (5) calendar days of

payment of the Second Installment or two (2) years after the entry of this Agreed Consent

Decree and Order. The 502(l) Penalty must be paid by sending a certified or cashier’s

check to:




                                        4
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 4 of 51 Document 226-1
                       U.S. Department of Labor
                       ERISA Civil Penalty
                       P.O. Box 71360
                       Philadelphia, PA 19176-1360.

The certified or cashier’s check for the 502(l) Penalty shall be made payable to the United

States Department of Labor and will reference EBSA Case No. 50-032066. If Defendants

wish to remit a check by commercial express courier, they agree to contact Soroosh

Nikouei at the United States Department of Labor (Nikouei.Soroosh@dol.gov or 202-693-

8486) and follow his instructions.

       E.      The Second Installment will be secured against the quarterly installment

payments due from Omni to the Veronica Mueller and the Defendant Trusts in payment of

the loan to Omni made in connection with the stock purchase transaction underlying this

litigation. In the event that the payments described in paragraphs II(C) and II(D) of this

Agreed Consent Decree and Order are not made within two (2) years of the date of the

entry of this Agreed Consent Decree and Order, the amount of any such nonpayment up to

$500,000 of the next installment payments due from Omni to the Defendant Muellers and

the Defendant Trusts shall be directed immediately by Omni to the Omni ESOP in the

amount of any such nonpayment of the Second Installment and/or to the U.S. Department

of Labor in the amount of any such nonpayment of the 502(l) Penalty. These payments are

secured by the ongoing payments required under the amended promissory notes and ESOP

Loan and Pledge Agreement referenced in paragraph III below, and Exhibit A hereto. To

the extent that any such payments become necessary, Omni first shall remit payment to the

Omni ESOP in the amount owed under paragraph II(C), plus accumulated interest under

this paragraph, and then remit payment to the United States Department of Labor in the

amount owed under paragraph II(D), plus accumulated interest under this paragraph.



                                        5
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 5 of 51 Document 226-1
       F.      Defendants Roger Mueller, Veronica Mueller, and the Defendant Trusts

shall provide to the Secretary proof of payment of the First and Second Installments and the

502(l) Penalty. Such proof will include wire transfer confirmations of the payments and

such other proof as may be requested by the Secretary. Any proof provided under this

paragraph will be sent to the Secretary’s representative at the following address:

                       Jeffrey Monhart
                       Regional Director, Chicago Regional Office
                       Employee Benefits Security Administration
                       U.S. Department of Labor
                       John C. Kluczynski Federal Bldg.
                       230 S. Dearborn Street, Suite 2160
                       Chicago, IL 60604

       G.      Defendant Alpha shall pay to the Omni ESOP the sum of $45,454.55 (forty-

five thousand four hundred fifty-four dollars and fifty-five cents) and to pay an ERISA §

502(l) penalty in the amount of $4,545.45 (four thousand five hundred forty-five dollars

and forty-five cents) to the Department of Labor.

       H.      Within sixty (60) days of the Court’s entry of this Agreed Consent Decree

and Order, Defendant Alpha shall pay to the Omni ESOP the sum of $45,454.55 (forty-five

thousand four hundred fifty-four dollars and fifty-five cents) (the “Alpha Settlement

Amount”) to fully settle the claims against Alpha in the Secretary’s Complaint in this

action. This payment shall not be offset in any manner by any payments from Omni, the

Omni ESOP, Roger Mueller, Veronica Mueller, the Trusts, or any other party.

       I.      Upon payment of the Alpha Settlement Amount, Defendant Alpha shall be

and hereby is assessed a penalty under ERISA § 502(l), 29 U.S.C. § 1132(l), of $8,333.33

(eight thousand three hundred and thirty-three dollars and thirty-three cents). The parties

have entered into a compromise to reduce the amount of the penalty to $4,545.45 (four

thousand five hundred forty-five dollars and forty-five cents) (the “Alpha 502(l)


                                        6
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 6 of 51 Document 226-1
Penalty”). Therefore, the Secretary hereby does and will accept, as full satisfaction of the

assessed penalty, the amount of $4,545.45 (four thousand five hundred forty-five dollars

and forty-five cents). Defendant Alpha waives its right to a separate notice of assessment

of the penalty under § 502(1), 29 U.S.C. §1132(1), and the service requirement of 29

C.F.R. § 2570.83. Defendant Alpha shall pay the Alpha 502(l) Penalty to the United States

Department of Labor within five (5) calendar days of payment of the Alpha Settlement

Amount to the Omni ESOP by sending a certified or cashier’s check to:

                       U.S. Department of Labor
                       ERISA Civil Penalty
                       P.O. Box 71360
                       Philadelphia, PA 19176-1360.

The certified or cashier’s check shall be made payable to the United States Department of

Labor and will reference EBSA Case No. 50-032066.

       J.      Defendant Alpha shall provide to the Secretary proof of payment of the

Alpha Settlement Amount and the Alpha 502(l) Penalty. Such proof will include wire

transfer confirmations of the payments and such other proof as may be requested by the

Secretary. Any proof provided under this paragraph will be sent to the Secretary’s

representative at the following address:

               Jeffrey Monhart
               Regional Director Chicago Regional Office
               Employee Benefits Security Administration
               U.S. Department of Labor
               John C. Kluczynski Federal Bldg.
               230 S. Dearborn Street, Suite 2160
               Chicago, IL 60604.

       K.      Notwithstanding any other provision of this agreement, the Secretary may

seek any judicial remedy available, including contempt, if the responsible Defendants fail

to pay the First Installment, the Second Installment, the 502(l) Penalty, the Alpha



                                        7
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 7 of 51 Document 226-1
Settlement Amount, or the Alpha 502(l) Penalty as required herein or violate any other

term of this Agreed Consent Decree and Order.

                         III.    RESTRUCTURING THE LOAN

       Defendants Veronica Mueller, the Defendant Trusts, and Omni and the Omni ESOP

agree to restructure their respective loans and promissory notes made in connection with

the December 30, 2008, stock purchase transaction such that the principal balance

remaining on the loans and promissory notes shall be reduced by the sum of $3,500,000.

The balance remaining owed by Omni to Defendant Veronica Mueller and the Defendant

Trusts will be re-amortized and paid in approximately equal quarterly installments until

paid in full. There will be no acceleration of payments on the remaining amount owed in

either loan except as may otherwise later be agreed upon by the parties to the loans and

promissory notes. The amended ESOP Loan and Pledge Agreement is attached hereto and

made a part hereof as Exhibit A and incorporated herein by this reference. The amended

promissory note between Omni and the Omni ESOP is attached hereto and made a part

hereof as Exhibit B and is incorporated herein by this reference. The amended promissory

note between Veronica Mueller and the Defendant Trusts and Omni is attached hereto and

made a part hereof as Exhibit C.

                       IV.      ESOP PARTICIPANT ACCOUNTS

       A.      Within thirty (30) days of receiving the payments set forth in paragraphs

II(B), (C), and (G) above, the Omni ESOP shall allocate those monies to participant

accounts for participants who were allocated shares of company stock between December

30, 2008, and the date of this Agreed Consent Decree and Order. The allocation of the

payments shall specifically include former participants who vested in the Omni ESOP and

received a distribution of plan assets prior to the date of entry of this Agreed Consent


                                        8
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 8 of 51 Document 226-1
Decree and Order. The allocation of the payments to the participant accounts (including

former participants) shall be pro rata according to the number of shares that were allocated

to each participant account between December 30, 2008, to the date of entry of this Agreed

Consent Decree and Order, except that neither Defendant Roger Mueller nor Defendant

Veronica Mueller shall receive any allocation of payments made to the Omni ESOP under

this Agreed Consent Decree and Order. These payments shall not replace or be paid in lieu

of a contribution to the Omni ESOP by Omni for any plan year. Roger Mueller and

Veronica Mueller and the Defendant Trusts shall not be involved in any manner and shall

have no liability with respect to the allocations and other actions set forth in this paragraph.

        B.     Within thirty (30) days of the entry of this Agreed Consent Decree and

Order, the Omni ESOP shall release to participants’ accounts the shares of Omni stock

necessary to account for the $3,500,000.00 loan reductions from Veronica Mueller and the

Mueller Trusts to Omni and from Omni to the Omni ESOP described in paragraph III

above. The allocation shall be pro rata in proportion to the number of shares that were

allocated to each participant between December 30, 2008, to the date of entry of this

Agreed Consent Decree and Order except that Defendant Roger Mueller and Veronica

Mueller shall not receive any allocation of shares made as a result of the $3,500,000 loan

reduction from Omni to the Omni ESOP made under this Agreed Consent Decree and

Order. The allocation of shares shall specifically include former participants who vested in

the Omni ESOP and received a distribution of plan assets prior to the date of entry of this

Agreed Consent Decree and Order. Omni and the Omni ESOP may amend the plan

document to allow a five-year payment schedule for the put options on the shares allocated

in this paragraph. Roger Mueller and Veronica Mueller and the Defendant Trusts shall not

be involved in any manner and shall have no liability with respect to the allocations and


                                        9
     Case 2:13-cv-01302-PP Filed 12/20/17 Page 9 of 51 Document 226-1
other actions set forth in this paragraph.

                            V.     NON-MONETARY RELIEF

       A.       Defendants may not seek direct or indirect contribution or indemnification

from each other or Omni or the Omni ESOP and waive any rights they may have to such

claims against Omni or the Omni ESOP. The Parties expressly acknowledge and agree that

the assignment by Omni and/or the Omni ESOP of their certain claims set forth in

paragraph VII below shall not be considered direct and/or indirect contribution or

indemnification from each other or Omni, the Omni ESOP, or any other Party.

       B.       Defendants may not assert any claims that arose or accrued on or before the

date of the entry of this Agreed Consent Decree and Order under ERISA or under any other

state or federal law against Omni or the Omni ESOP related to the December 30, 2008,

Omni ESOP Stock Purchase Transaction underlying this litigation, including the repayment

of any extensions of credit made by the Muellers, the Defendant Trusts, or Omni to the

Omni ESOP that were not made. Defendants reserve their rights to bring claims arising

after the date of the entry of this Agreed Consent Decree and Order for any failure by Omni

to meet its obligations as required under the terms of the Stock Purchase Agreement and

Promissory Notes, as those documents are amended by this Agreed Consent Decree and

Order, as well as any settlement agreements incorporated in this Agreed Consent Decree

and Order. Omni and the Omni ESOP may not assert any claims that arose on or before the

date of the entry of this Agreed Consent Decree and Order under ERISA or any other state

or federal law against the Defendants related to the December 30, 2008 Omni ESOP Stock

Purchase Transaction underlying this litigation. Omni and the Omni ESOP reserve their

rights to bring claims arising after the date of the entry of this Agreed Consent Decree and

Order for any failure by Defendants to meet their obligations under the Stock Purchase


                                       10
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 10 of 51 Document 226-1
Agreement and Promissory Notes as those documents are amended by this Agreed Consent

Decree and Order.

       C.      Defendants Roger Mueller and Veronica Mueller are permanently enjoined

from serving as a fiduciary to any ERISA-covered employee benefit plan or engaging in

any conduct that would make them a fiduciary under ERISA section 3(21), 29 U.S.C. §

1002(21).

       D.      Defendant Alpha is permanently enjoined to comply with all requirements

stated in the Agreement Concerning Process Requirements for Employee Stock Ownership

Plan Transactions (the “Process Agreement”), attached hereto and made part hereof as

Exhibit D, when it provides services to any ESOP or ESOP fiduciary. Defendants Roger

Mueller and Veronica Mueller and the Defendant Trusts are not and shall not be involved

in any manner and shall have no liability or obligations with respect to Exhibit D.

                                     VI.     RELEASES

       A.      This Agreed Consent Decree and Order provides full, final, and complete

judicial resolution of all of the claims and causes of action alleged in the Secretary’s

Complaint in this action. Notwithstanding the foregoing, nothing in this Agreed Consent

Decree and Order shall be deemed to waive any claim by the Secretary relating to the

obligations set forth in this Agreed Consent Decree and Order. Furthermore,

notwithstanding the foregoing, nothing in this Agreed Consent Decree and Order shall be

deemed to waive any claim by any Defendant with respect to the Secretary’s, Omni’s and

the Omni ESOP’s obligations under this Agreed Consent Decree and Order.

       B.      Except for the obligations set forth in this Agreed Consent Decree and

Order, the Secretary and his agents, representatives, assigns, predecessors and successors in

interest, acting in their official capacities, do hereby waive, release, and forever discharge


                                       11
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 11 of 51 Document 226-1
all claims, demands, actions, causes of action, liabilities, or fines (including any penalty

under § 502(l) of ERISA) they may have against Defendants Roger Mueller, Veronica

Mueller, the Defendant Trusts, Alpha, and their respective directors, officers, agents,

attorneys (except DeWitt, Ross & Stevens, S.C., and its present or former affiliates or

employees, including, without limitation, Timothy Stewart, Brian Anderson, and Sandy

Swartzberg), employees, representatives, assigns, predecessors, and successors in interest

based upon the allegations in the Secretary’s Complaint in this action.

        C.      Defendants Roger Mueller, Veronica Mueller, and the Defendant Trusts,

and their directors, officers, agents, attorneys, trustees, employees, representatives, assigns,

and predecessors and successors in interest, do hereby release the Secretary and his

officers, agents, attorneys, employees, and representatives, both in their individual and

governmental capacities, from all actions, claims and demands of whatsoever nature,

including those arising under the Equal Access to Justice Act or any statute, rule, or

regulation, that relate in any manner to the investigations, filing, prosecution, maintenance,

and settlement of the Secretary’s Complaint.

        D.      Defendant Alpha, and its directors, officers, agents, attorneys, employees,

representatives, assigns, predecessors and successors in interest, do hereby release the

Secretary and his officers, agents, attorneys, employees, and representatives, both in their

individual and governmental capacities, from all actions, claims and demands of

whatsoever nature, including those arising under the Equal Access to Justice Act or any

statute, rule, or regulation, that relate in any manner to the investigations, filing,

prosecution, maintenance, and settlement of the Secretary's Complaint.

        E.      Except for the claims released by the Secretary in Paragraph VI(B) above,

the Secretary’s claims against all persons not identified in VI(B) are expressly preserved.


                                       12
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 12 of 51 Document 226-1
Nothing in this Agreed Consent Decree and Order shall preclude the Secretary from

initiating or continuing any audit or investigation, or from pursuing any claims or actions,

against any entities or persons (other than the claims stated against Roger Mueller,

Veronica Mueller, the Defendant Trusts, and Alpha, in the Secretary’s Complaint) relating

to any ERISA-covered plan, except for the claims the Secretary released in Paragraph

VI(B) above. Nothing in this Consent Decree and Order resolves any claims that have

been or may be asserted against Roger Mueller, Veronica Mueller, the Defendant Trusts, or

Alpha by current and former participants of the Omni ESOP, or by any other person.

       F.      Each Party represents and warrants that he, she, or it has not assigned all or

part of any claim, demand, debt, or cause of action of any kind or nature released in this

Agreed Consent Decree and Order to any other person or third party prior to executing this

Agreed Consent Decree and Order.

       G.      Roger Mueller, Veronica Mueller, the Defendant Trusts, Alpha, Omni and

Omni ESOP have entered into a Settlement and Assignment Agreement and Mutual

Release under which each such party has released the other pursuant to the terms thereof.

                           VII.   ASSIGNMENT OF CLAIMS

       Omni and the Omni ESOP agree to assign any rights to certain claims in connection

with the December 30, 2008, Omni ESOP Stock Purchase Transaction underlying this

litigation to Defendants Roger and Veronica Mueller and the Defendant Trusts. The terms

of such assignment are documented in the separate Settlement and Assignment Agreement

and Mutual Release and the Assignment Agreement between Roger Mueller, Veronica

Mueller, the Defendant Trusts, Omni, and the Omni ESOP.

                       VIII. RETENTION OF JURISDICTION

       This Court shall retain jurisdiction over the Parties and subject matter of this action


                                       13
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 13 of 51 Document 226-1
for the purposes of enforcing and interpreting the terms of this Agreed Consent Decree and

Order.

                              IX.       COST AND EXPENSES

         The Parties each shall bear their own costs, expenses, and attorneys’ fees in

connection with this action, the Secretary’s investigation of the December 30, 2008,

purchase of Omni stock by the Omni ESOP, and this Agreed Consent Decree and Order,

including, but not limited to, attorneys’ fees which may be available under the Equal

Access to Justice Act, as amended. The Parties agree not to seek or accept indemnification

from Omni or the Omni ESOP or use any assets of Omni or the Omni ESOP for any

payments made or required to be made in this Agreed Consent Decree and Order or for any

expenses, including attorneys’ fees, associated with the negotiation, consideration,

documentation, or implementation of this Agreed Consent Decree and Order.

                                   X.     PARTIES BOUND

         By entering into this Agreed Consent Decree and Order, the Parties represent that

they have read this Agreed Consent Decree and Order, been informed by counsel of the

effect and purpose of this Agreed Consent Decree and Order, and agree to be bound by its

terms. This Agreed Consent Decree and Order is not binding on any governmental agency

other than the United States Department of Labor.

                             XI.        MULTIPLE ORIGINALS

         This Agreed Consent Decree and Order may be executed in counterparts, each of

which shall be deemed to be an original, but all of which, taken together, shall constitute

one and the same instrument. The date of execution of this Agreed Consent Decree and

Order is the date on which it is signed by this Court.

                           XII.     ADMISSION OF LIABILITY


                                       14
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 14 of 51 Document 226-1
        Defendants Roger Mueller, Veronica Mueller, the Defendant Trusts and Defendant

Alpha neither admit nor deny the allegations in the Secretary’s Complaint in this action.

                                        XIII. NOTICE

        If any provisions of this Agreed Consent Decree and Order require notice to Omni

 and/or the Omni ESOP, such notice shall be satisfied by delivering it in writing to:

                                Thomas M. Burnett
                                Reinhart Boerner Van Deuren, SC
                                1000 North Water Street, Suite 1700
                                P.O. Box 2965
                                Milwaukee, WI 53202
                                tburnett@reinhartlaw.com

        If any provisions of this Agreement require notice to the Muellers and the Mueller

 Trusts, such notice shall be satisfied by delivering it in writing to:

                                David R. Johanson
                                Hawkins Parnell Thackston & Young LLP
                                1776 Second Street
                                Napa, California 94559
                                Phone: (707) 299-2470
                                E-mail: DJohanson@hptylaw.com

        If any provisions of this Agreement require notice to Alpha, such notice shall be

 satisfied by delivering it in writing to:

                                Donal Demet
                                Demet & Demet, LLC
                                815 N. Cass St.
                                Milwaukee, WI 53202-3908
                                Phone: (414) 326-3101
                                E-mail: ddemet@demetlaw.com

        If any provisions of this Agreement require notice to the Secretary, such notice shall

be satisfied by delivering it in writing to:

                                Jeffrey Monhart, Regional Director
                                Chicago Regional Office
                                U.S. Department of Labor
                                Employee Benefits Security Administration


                                       15
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 15 of 51 Document 226-1
                              John C. Kluczynski Federal Bldg.
                              230 S. Dearborn Street, Suite 2160
                              Chicago, IL 60604
                              Phone: (312) 353-0900
                              Fax (312) 353-1023
                              E-mail: monhart.jeff@dol.gov

with a duplicate delivered to:

                              Eric Lund
                              Senior Trial Attorney
                              Plan Benefits Security Division
                              U.S. Department of Labor
                              200 Constitution Avenue, N.W.
                              Room N-4611
                              Washington, DC 20210
                              Phone: (202) 693-5600
                              E-mail: lund.eric@dol.gov

Delivery shall be made by e-mail or reliable overnight express courier service. The Parties

may change the designation of persons to receive notice on their behalf by notifying the

other Party or Parties of the change.

                                 XIV. ENTRY OF ORDER

       This Court finds that there is no just reason to delay the entry of this Agreed

Consent Decree and Order and expressly directs the entry thereof as a final Decree and

Order pursuant to Fed. R. Civ. P. 54(a).

       IN WITNESS WHEREOF, the Parties through their respective duly authorized

representatives have executed this Agreed Consent Decree and Order on the date(s) set

forth hereunder.




                                       16
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 16 of 51 Document 226-1
IT IS SO ORDERED

Date: December __, 2017




PAMELA PEPPER
UNITED STATES DISTRICT COURT JUDGE




                                       17
    Case 2:13-cv-01302-PP Filed 12/20/17 Page 17 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 18 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 19 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 20 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 21 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 22 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 23 of 51 Document 226-1
              Ex. A - ESOP Loan and Pledge Agreement




Case 2:13-cv-01302-PP Filed 12/20/17 Page 24 of 51 Document 226-1
                   AMENDMENT TO ESOP LOAN AND PLEDGE AGREEMENT

         This Amendment to ESOP Loan and Pledge Agreement (this “Agreement”) is entered into
this 15th day of December, 2017 by and between (a) GreatBanc Trust Company, not in its
individual or corporate capacity but solely in the capacity as Trustee of the Omni Resources, Inc.
Employee Stock Ownership Trust, (the “ESOP”); (b) Veronica S. Mueller and Mark Lulloff (not
individually, but solely in his capacity as trustee of the Carey V. Mueller (n/k/a Vollmers) 1996
Trust Dated 11/14/96, the Craig M. Mueller 1996 Trust Dated 11/14/96, the Christopher L. Mueller
1996 Trust Dated 11/14/96, the Roger L. and Veronica S. Mueller 1996 Exemption Trust Dated
11/14/96 f/b/o Carey V. Mueller (n/k/a Vollmers), the Roger L. and Veronica S. Mueller 1996
Exemption Trust Dated 11/14/96 f/b/o Craig M. Mueller, and The Roger L. and Veronica S.
Mueller 1996 Exemption Trust Dated 11/14/96 f/b/o Christopher L. Mueller) (collectively, the
“Seller”); and (c) Omni Resources, Inc. (the “Company”). The spouse of Veronica S. Mueller (as
seller) also enters into this Agreement to acknowledge his relinquishment of marital property rights.

       The ESOP, the Seller and the Company entered into an ESOP Loan and Pledge Agreement
dated as of December 30, 2008 (the “ESOP Loan and Pledge Agreement”). Under the terms of the
ESOP Loan and Pledge Agreement, the Seller agreed to provide the Company a loan in the amount
of $13,765,000.00 (the “Company Loan”), as evidenced by a promissory note (the “Company
Note”). Under the terms of the ESOP Loan and Pledge Agreement, the Company agreed to provide
the ESOP a loan in the amount of $13,765,000.00 (the “ESOP Loan”), as evidenced by a
promissory Note (the “ESOP Note”).

        Pursuant to the terms of the Consent Decree and Order in the litigation in the United States
District Court for the Eastern District of Wisconsin, styled “R. Alexander Acosta, Secretary of
Labor v. Veronica Mueller, et al., 2:13-cv-1302-PP,” the parties wish to amend the ESOP Loan
and Pledge Agreement in the following manner:

     1) In accordance with Section 2.1 of the ESOP Loan and Pledge Agreement, payments of
        principal and interest on the ESOP Note shall be paid by the ESOP as set forth in the terms
        of the ESOP Note, as amended.

     2) In accordance with Section 3.1 of the ESOP Loan and Pledge Agreement, payments of
        principal and interest on the Company Note shall be paid by the Company as set forth in the
        terms of the Company Note, as amended.

     3) Notwithstanding the provisions herein and as outlined in the ESOP Note, as amended, there
        will be no acceleration of payments on the remaining amount owed on the ESOP Note
        except as permitted by the Consent Decree referenced above.

     4) Notwithstanding the provisions herein and as outlined in the Company Note, as amended,
        there will be no acceleration of payments on the remaining amount owed on the Company
        Note except as permitted by the Consent Decree referenced above.

All other terms and conditions of the ESOP Loan and Pledge Agreement shall remain in effect.

SELLER:

______________________________________
Veronica S. Mueller
38482552
           Case 2:13-cv-01302-PP Filed 12/20/17 Page 25 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 26 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 27 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 28 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 29 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 30 of 51 Document 226-1
           Ex. B - Promissory Note 1 (Omni and Omni ESOP)




Case 2:13-cv-01302-PP Filed 12/20/17 Page 31 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 32 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 33 of 51 Document 226-1
Ex. C - Promissory Note 2 (Veronica Mueller and Defendant Trusts and Omni)




Case 2:13-cv-01302-PP Filed 12/20/17 Page 34 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 35 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 36 of 51 Document 226-1
Case 2:13-cv-01302-PP Filed 12/20/17 Page 37 of 51 Document 226-1
                                          EXHIBIT D

         AGREEMENT CONCERNING PROCESS REQUIREMENTS FOR
           EMPLOYEE STOCK OWNERSHIP PLAN TRANSACTIONS

        Alpha Investment Consulting Group, LLC (“Alpha”) agrees to apply the following

policies and procedures whenever Alpha serves as trustee or other fiduciary of an employee

stock ownership plan ("ESOP") subject to Title I of the Employee Retirement Income

Security Act of 1974, 29 U.S.C. § 1001 et seq. ("ERISA") that is purchasing or selling, is

contemplating purchasing or selling, or receives an offer to purchase or sell, employer

securities that are not publicly traded ("Transaction").

        A.     Selection and Use of valuation advisor - General. Alpha shall do the

following:

               1.        Prudently investigate the valuation advisor's qualifications;

               2.        Take reasonable steps to determine that the valuation advisor

receives complete, accurate, and current information necessary to value the plan sponsor's

securities;

               3.        Contemporaneously document the steps Alpha took – including who

at Alpha took those steps – to determine that the valuation advisor received complete,

accurate, and current information and to ensure Alpha understood the advice of the

valuation advisor; and

               4.        Prudently determine that its reliance on the valuation advisor's

advice is reasonable before entering into any Transaction in reliance on the advice.

        B.      Selection of valuation advisor - Conflicts of Interest. Alpha shall not

use a valuation advisor for a Transaction that has previously performed work for any party

to the Transaction other than the ESOP or its trustee, including but not limited to a
                                                   1


     Case 2:13-cv-01302-PP Filed 12/20/17 Page 38 of 51 Document 226-1
"preliminary valuation" for or on behalf of the plan sponsor (as distinguished from the

ESOP), a committee of employees of the plan sponsor, any counterparty to the ESOP

involved in the Transaction, or any other entity that is structuring the Transaction (such as

an investment bank). Alpha shall not use a valuation advisor for a Transaction that has a

familial or corporate relationship (such as a parent-subsidiary relationship) to any of the

aforementioned persons or entities. Alpha shall obtain written confirmation from the

valuation advisor selected that none of the above-referenced relations exist.

       C.      Selection of valuation advisor - Process.

               1.      In selecting a valuation advisor for a Transaction, Alpha shall

prepare a written analysis addressing the following topics:

                       a.      The reason for selecting the particular valuation advisor;

                       b.      A list of all the valuation advisors that Alpha considered;

                       c.      A discussion of the qualifications of the valuation advisors

that Alpha considered;

                       d.      A list of at least three references checked and discussion of

the references' views on the valuation advisor;

                       e.      Whether the valuation advisor was the subject of prior

criminal, civil, or regulatory proceedings/investigations related to its previous valuation

work and the outcome of such proceedings or investigations; and

                       f.      A full explanation of the basis for concluding that Alpha's

selection of the valuation advisor was prudent.

               2.      If Alpha selects a valuation advisor from a roster of valuation

advisors that it has previously used, Alpha need not undertake a-new the analysis outlined

above if the following conditions are satisfied:
                                                   2


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 39 of 51 Document 226-1
                       a.     Alpha previously performed the analysis described above in

connection with a prior engagement of the valuation advisor;

                       b.     The previous analysis was completed within the prior

calendar year immediately preceding Alpha's selection of the valuation advisor;

                       c.     Alpha documents in writing that it previously performed the

analysis, the date(s) on which Alpha performed the analysis and the results of the analysis;

                       d.     Alpha's files contain the valuation advisor’s confirmation that

the information it previously provided pursuant to item (C)(1)(e) above is still accurate.

               D.      Oversight of valuation advisor – Required Analysis. Prior to

approving a Transaction, Alpha shall request that the valuation advisor document the

following items in its Valuation Report 1 and, if the valuation advisor does not so document,

Alpha shall prepare or require the preparation of supplemental documentation of the

following items to the extent they were not documented by the valuation advisor:

               1.      Use of Projections: Conduct reasonable inquiry into projections

given by individual(s) responsible for providing any projections reflected in the Valuation

Report, such reasonable inquiry shall include:

                       a.     Whether those individuals have or reasonably may be

determined to have any conflicts of interest in regard to the ESOP including but not limited

to any interest in the purchase or sale of the plan sponsor's stock being considered;

                       b.     Whether those individuals serve as agents or employees of

persons with such conflicts, and the precise nature of any such conflicts; and


1
 All references to the term "Valuation Report" refer to the valuation advisor's report on
which Alpha relies prior to the Transaction in deciding whether to approve or reject the
Transaction.

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    Case 2:13-cv-01302-PP Filed 12/20/17 Page 40 of 51 Document 226-1
                       c.      How Alpha and the valuation advisor considered such

conflicts in determining the value of the plan sponsor's securities.

               2.      An opinion as to the reasonableness of any projections considered in

connection with the Transaction that explains in writing why and to what extent the

projections are or are not reasonable. At a minimum, the analysis shall consider how the

projections compare to, and whether they are reasonable in light of, the plan sponsor's five-

year historical averages and/or medians and the five-year historical averages and/or

medians of a group of comparable public companies (if any exist) for the following

metrics, unless five-year data are unavailable (in which case, the analysis shall use averages

extending as far back as possible):

                       a.      Return on assets;

                       b.      Return on equity;

                       c.      EBIT and EBITDA margins;

                       d.      Ratio of capital expenditures to sales;

                       e.      Revenue growth rate; and

                       f.      Ratio of free cash flows (of the enterprise) to sales.

               3.      If it is determined that any of these metrics should be disregarded in

assessing the reasonableness of the projections, document in writing both the calculations

of the metric (unless calculation is impossible) and the basis for the conclusion that the

metric should be disregarded. The use of additional metrics to evaluate the reasonableness

of projections other than those listed in section (D) (2) (a)-(f) above is not precluded as

long as the appropriateness of those metrics is documented in writing.

               4.      If comparable companies are used for any part of a valuation -

whether as part of a guideline company method of valuation, to gauge the reasonableness
                                              4


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 41 of 51 Document 226-1
of projections, or for any other purpose, explain in writing the basis for concluding that the

comparable companies are actually comparable to the plan sponsor being valued, including

on the basis of size, customer concentration (if such information is publicly available), and

volatility of earnings. If a guideline company analysis is performed, explain in writing any

discounts applied to the multiples selected, and if no discount is applied to any given

multiple, explain in detail the reasons.

               5.      If the plan sponsor is projected to meet or exceed its historical

performance or the historical performance of the group of comparable public companies on

any of the metrics described in paragraph (D) (2) above, document in writing all material

assumptions supporting such projections and why those assumptions are reasonable.

               6.      To the extent that Alpha or its valuation advisor considers any of the

projections provided by the plan sponsor to be unreasonable, document in writing all

adjustments made to the projections.

               7.      If adjustments are applied to the plan sponsor's historical or

projected financial metrics in a valuation analysis, determine and explain in writing why

such adjustments are reasonable.

               8.      Describe the risks facing the plan sponsor that could cause the plan

sponsor's financial performance to fall materially below the projections relied upon by the

valuation advisor.

               9.      If greater weight is assigned to some valuation methods than to

others, explain in writing the weighting assigned to each valuation method and the basis for

the weightings assigned.

               10.     Consider, as appropriate, how the ESOP document provisions

regarding stock distributions, the duration of the ESOP loan, and the age and tenure of the
                                                  5


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 42 of 51 Document 226-1
ESOP participants, may affect the plan sponsor's prospective repurchase obligation, the

prudence of the Transaction or the fair market value of the stock.

                11.     Analyze and document in writing:

                        a.      Whether the plan sponsor will be able to service the debt

taken on in connection with the Transaction (including the ability to service the debt in the

event that the plan sponsor fails to meet the projections relied upon in valuing the stock);

                        b.      Whether the Transaction is fair to the ESOP participants from

a financial point of view;

                        c.      Whether the Transaction is fair to the ESOP participants

relative to all the other parties to the Transaction;

                        d.      Whether the terms of the financing of the Transaction are

market-based, commercially reasonable, and in the best interests of the ESOP participants;

                        e.      Whether both seller financing and financial institution

financing was considered and whether the loans sought from financial institutions were

within the amounts the financial institution was willing to loan;

                        f.      Whether the terms of any loan the ESOP receives in

connection with the Transaction are as favorable as the terms of any loans between the plan

sponsor and any executive of the plan sponsor made within the two years preceding the

Transaction; and

                        g.      The financial impact of the Transaction on the plan sponsor,

and document in writing the factors considered in such analysis and conclusions drawn

therefrom.

                12.     Explain any material differences between the present valuation and

the most recent prior valuation of the plan sponsor performed within the past 24 months by
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     Case 2:13-cv-01302-PP Filed 12/20/17 Page 43 of 51 Document 226-1
any valuation firm for any purpose (if any exist).

               E.      Financial Statements.

               1.      Alpha shall request that the plan sponsor provide Alpha and its

valuation advisor with unqualified audited financial statements for the preceding five fiscal

years, unless unqualified audited financial statements extending back five years are

unavailable (in which case, Alpha shall request unqualified audited financial statements

extending as far back as possible).

               2.      If the plan sponsor provides to Alpha or its valuation advisor

unaudited or qualified audited financial statements for any of the preceding five fiscal years

(including interim financial statements that update or supplement the last available

unqualified audited financial statement), Alpha shall determine whether it is prudent to rely

on these financial statements notwithstanding the risk posed by using unaudited or

qualified audited financial statements.

               3.      If Alpha proceeds with the Transaction notwithstanding the lack of

unqualified audited financial statements (including interim financial statements that update

or supplement the last available unqualified audited financial statement), Alpha shall

document the basis for Alpha's belief that it is prudent to rely on the financial statements,

and explain in writing how Alpha accounted for any risk posed by using financial

statements other than unqualified audited financial statements. If Alpha does not believe

that it can reasonably conclude that it would be prudent to rely on the financial statements

used in the Valuation Report, Alpha shall not proceed with the Transaction. While Alpha

need not audit the financial statements themselves, it must carefully consider the reliability

of those statements in the manner set forth herein.

               4.      Alpha may approve a Transaction notwithstanding the lack of
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    Case 2:13-cv-01302-PP Filed 12/20/17 Page 44 of 51 Document 226-1
unqualified audited financial statements (including interim financial statements that update

or supplement the last unqualified audited financial statement) only if the stock purchase

agreement includes a provision requiring the selling or purchasing shareholder(s) who

is(are) an officer, manager, or member of the board of directors of the plan sponsor to

compensate the ESOP for any losses or other harms caused by or related to financial

statements that did not accurately reflect the plan sponsor's financial condition.

        F.     Fiduciary Review Process - General. In connection with any Transaction,

Alpha agrees to do the following:

               1.      Take reasonable steps necessary to determine the prudence of relying

on the plan sponsor's financial statements provided to the valuation advisor, as set out more

fully in paragraph E above;

               2.      Critically assess the reasonableness of all projections (particularly

management projections), and if the Valuation Report does not document in writing the

reasonableness of such projections to Alpha's satisfaction, Alpha shall prepare

supplemental documentation explaining why and to what extent the projections are or are

not reasonable;

               3.      If Alpha believes the projections are unreasonable, Alpha shall ask

the valuation advisor to account for the unreasonable projections in its valuation, request

new and reasonable projections from management, or reject the Transaction. Alpha must

document the basis for its decision.

               4.      Ensure that the information the valuation advisor obtains from the

plan sponsor and purchasing or selling shareholder(s) includes the following, to the extent

it exists:

                       a.      All prior attempts by the purchasing or selling shareholder(s)
                                                  8


     Case 2:13-cv-01302-PP Filed 12/20/17 Page 45 of 51 Document 226-1
to purchase or sell their stock in the plan sponsor within the proceeding two (2) years;

                       b.      All prior defaults within the past five years by the plan

sponsor under any lending or financing agreement;

                       c.      All management letters provided to the plan sponsor by its

accountants within the past five years; and

                       d.      All information related to a valuation of the plan sponsor

provided to the Internal Revenue Service within the past five years.

       G.      Fiduciary Review Process - Documentation of Valuation Analysis.

Alpha shall document in writing its analysis of the Valuation Report relating to a

Transaction. Alpha's documentation shall specifically address each of the following topics

and shall include Alpha's conclusions regarding the Valuation Report's treatment of each

topic and explain in writing the basis for its conclusions:

               1.      Marketability discounts;

               2.      Minority interests and control premiums;

               3.      Projections of the plan sponsor's future financial performance and

the reasonableness or unreasonableness of such projections, including, if applicable, the

basis for assuming that the plan sponsor's future financial performance will meet or exceed

historical performance or the expected performance of the relevant industry generally;

               4.      Analysis of the plan sponsor's strengths and weaknesses, which may

include, as appropriate, personnel, plant and equipment, capacity, research and

development, marketing strategy, business planning, financial condition, and any other

factors that reasonably could be expected to affect future performance;

               5.      Specific discount rates chosen, including whether any weighted

average cost of capital used by the valuation advisor was based on the plan sponsor's actual
                                                 9


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 46 of 51 Document 226-1
capital structure or that of the relevant industry and why the chosen capital structure

weighting was reasonable;

               6.      All adjustments to the plan sponsor's historical financial statements;

               7.      Consistency of the general economic and industry-specific narrative

in the Valuation Report with the quantitative aspects of the Valuation Report;

               8.      Reliability and timeliness of the historical financial data considered,

including a discussion of whether the financial statements used by the valuation advisor

were the subject of unqualified audit opinions, and if not, why it would nevertheless be

prudent to rely on them;

               9.      The comparability of the companies chosen as part of any analysis

based on the plan sponsor's comparable companies;

               10.     Material assumptions underlying the Valuation Report and all testing

and analysis of these assumptions;

               11.     Where the Valuation Report made choices between averages,

medians, and outliers (e.g., in determining the multiple(s) used under the guideline

company method of valuation), the reasons for the choices;

               12.     Treatment of corporate debt;

               13.     Whether the methodologies employed were standard and accepted

methodologies and the basis for any departures from standard and accepted methodologies;

               14.     The plan sponsor's ability to service all debt or liabilities to be taken

on in connection with the Transaction;

               15.     The Transaction's reasonably foreseeable risks as of the date of the

Transaction; and

               16.     All other material considerations or variables that could have a
                                                10


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 47 of 51 Document 226-1
significant effect on the price of the plan sponsor's securities.

       H.      Fiduciary Review Process - Reliance on Valuation Report.

               1.      Alpha, through its employees who are primarily responsible for the

proposed Transaction, including all employees who participated in decisions on whether to

proceed with the Transaction or the price of the Transaction, shall do the following, and

document in writing its work with respect to each:

                       a.      Read and understand the Valuation Report;

                       b.      Identify and question the valuation report's underlying

assumptions;

                       c.      Make reasonable inquiry as to whether the information in the

Valuation Report is materially consistent with information in Alpha's possession;

                       d.      Analyze whether the Valuation Report's conclusions are

consistent with the data and analysis; and

                       e.      Analyze whether the Valuation Report is internally consistent

in material aspects.

               2.      Alpha shall document in writing the following: (a) the identities of

its employees who were primarily responsible for the proposed Transaction, including all

employees who participated in decisions on whether to proceed with the Transaction or the

price of the Transaction; (b) all material points on which such employee disagreed and

why; and (c) whether all such employees concluded or expressed the belief prior to Alpha's

approval of the Transaction that the Valuation Report's conclusions were inconsistent with

the data and analysis therein or that the Valuation Report was internally inconsistent in

material aspects.

               3.      If the employees who were primarily responsible for the Transaction,
                                              11


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 48 of 51 Document 226-1
including all employees who participated in decisions on whether to proceed with the

Transaction or the price of the Transaction, believe that the Valuation Report's conclusions

are not consistent with the data and analysis or that the Valuation Report is internally

inconsistent in material respects, Alpha shall not proceed with the Transaction.

               4.      Alpha shall independently determine whether a Fairness Opinion is

required and, if so, shall not proceed without one.

       I.      Preservation of Documents. In connection with any Transaction approved

by Alpha, Alpha will create a Transaction folder and preserve for at least six (6) years the

following:

               1.      The full name, business address, business telephone number and

email address at the time of Alpha's consideration of the Transaction of each employee who

was primarily responsible for the Transaction, including any employee who participated in

decisions on whether to proceed with the Transaction or the price of the Transaction, and

any other Alpha employee who made any material decision(s) on behalf of Alpha in

connection with the Transaction;

               2.      All relevant notes and records created by Alpha in connection with

its consideration of the Transaction, including all documentation required by this Consent

Order and Judgment;

               3.      The vote (yes or no) of each employee of Alpha who voted on the

proposed transaction and a signed certification by each voting employee, in his or her

representative capacity, and all other Alpha employees who made any material decision(s)

on behalf of Alpha in connection with the proposed Transaction that they have read the

valuation report, identified its underlying assumptions, and considered the reasonableness

of the valuation report's assumptions and conclusions;
                                               12


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 49 of 51 Document 226-1
               4.      All relevant documents Alpha and the employees identified in

paragraph (I)(1) above relied on in making the decisions;

               5.      All relevant electronic or other written communications Alpha and

the employees identified in paragraph (I)(1) above had with service providers (including

any valuation advisor), the plan sponsor, any non-ESOP counterparties, and any advisors

retained by the plan sponsor or non-ESOP counterparties;

       J.      Debt and Fair Market Value. The principal amount of the debt financing

the Transaction, irrespective of the interest rate, cannot exceed the plan sponsor's securities'

fair market value. Accordingly, Alpha shall not cause an ESOP to engage in a leveraged

stock purchase Transaction in which the principal amount of the debt financing the

Transaction exceeds the fair market value of the plan sponsor's securities acquired with that

debt, irrespective of the interest rate or other terms of the debt used to finance the

Transaction.

       K.      Control. If Alpha approves a Transaction in which the ESOP cedes any

degree of control to which it would otherwise be entitled based on its ownership interest,

including but not limited to the unencumbered ability to vote its shares (for example, by

electing members of the board of directors), Alpha must document all consideration

received in exchange for such limitation on the ESOP’s control (or how the limitation on

control is otherwise reflected in the purchase price) and why it is fair to the ESOP. If

Alpha approves a Transaction in which the ESOP pays a control premium, Alpha must

document why it believes that the ESOP is obtaining voting control and control in fact and

identify all limitations on such control as well as the specific amount of consideration the

ESOP received for such limitation(s).

       L.      Consideration of Claw-Back. In evaluating a proposed Transaction, Alpha
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    Case 2:13-cv-01302-PP Filed 12/20/17 Page 50 of 51 Document 226-1
shall consider whether it is appropriate to request a claw-back arrangement or other

purchase price adjustment(s) to protect the ESOP against the possibility of adverse

consequences in the event of significant corporate events or changed circumstances. Alpha

shall document in writing its consideration of the appropriateness of a claw-back or other

purchase price adjustment(s).

       M.      Other Professionals. Alpha may, consistent with its fiduciary

responsibilities under ERISA, employ, or delegate fiduciary authority to qualified

professional service providers to aid Alpha in the exercise of its powers, duties, and

responsibilities in the Transaction as long as it is prudent to do so.




                                                  14


    Case 2:13-cv-01302-PP Filed 12/20/17 Page 51 of 51 Document 226-1
